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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   -------------------------------------                     x
                                                             :
   ALEKSEJ GUBAREV, XBT HOLDINGS S.A., and                   :
   WEBZILLA, INC.,                                           :   Case No: 1:17-cv-60426-UU
                                                             :
                                  Plaintiffs,
                                                             :
                                                             :
                           -against-                         :
                                                             :
                                                             :
   BUZZFEED, INC. and BEN SMITH,                             :
                                                             :
                                  Defendants.                :
                                                             :
                                                             :
                                                             :
                                                             :

   -------------------------------------                     x

        REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE PURSUANT
    TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON TAKING OF EVIDENCE
                ABROAD IN CIVIL OR COMMERCIAL MATTERS

         The United States District Court for the Southern District of Florida (the “District Court”

  or the “Court”) presents its compliments to the Cyprus Ministry of Justice and Public Order (the

  “Ministry of Justice”), and requests international judicial assistance to obtain testimonial and

  documentary evidence to be used in the above-captioned civil proceeding now pending before

  this Court (the “Action”).

         The Court requests the assistance herein pursuant to the Hague Convention of 18 March

  1970 on the Taking of Evidence Abroad in Civil or Commercial Matters (the “Convention”), to

  which the United States and Cyprus are each a party. The District Court is a competent court of

  law and equity which properly has jurisdiction over this proceeding.
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         In this Court’s view, the testimonial and documentary evidence sought will be highly

  relevant to the claims for damages asserted in the Action by Plaintiffs Aleksej Gubarev, XBT

  Holdings, S.A. (“XBT”), and Webzilla, Inc. (together, “Plaintiffs”), and the applicable defenses

  thereto that may be asserted by Defendants Buzzfeed, Inc. and Ben Smith (together,

  “Defendants”).

         This request is made with the understanding that it will in no way require any person to

  commit an offense or to undergo a broader form of inquiry than he or she would if the litigation

  were conducted in Cyprus. Consistent with Cyprus’s Declaration 5 regarding the Convention,

  this request should not be construed as one requiring the entity or individuals identified in

  Appendix A hereto (i) to identify the documents relevant to the Action that are in their

  possession, custody, or control, or (ii) to produce any documents other than the particular

  documents specified in Appendix A.

         In the proper exercise of its authority, the Court has determined that the requested

  testimony and documents cannot be secured except by the intervention of the Ministry of Justice.

         The particulars of this letter of request are as follows:


  1.     Sender:                                           The Honorable Ursula Ungaro
                                                           United States District Court
                                                           Southern District of Florida
                                                           Wilkie D. Ferguson, Jr. United States
                                                           Courthouse
                                                           400 North Miami Avenue
                                                           Room 12-4
                                                           Miami, Florida 33128
  2.     Central Authority of the Requested State:         Ministry of Justice and Public Order
                                                           125 Athalassas Avenue
                                                           1461 Strovolos
                                                           Nicosia, Cyprus
                                                           registry@mjpo.gov.cy



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  3.    Person to whom the executed request         The Honorable Ursula Ungaro
        is to be returned:                          United States District Court
                                                    Southern District of Florida
                                                    Wilkie D. Ferguson, Jr. United States
                                                    Courthouse
                                                    400 North Miami Avenue
                                                    Room 12-4
                                                    Miami, Florida 33128
  4.    Specification of the date by which the      As soon as practicable.
        requesting authority requires receipt of
        the response to the Letter of Request:


               Reason for urgency:                  The period for taking depositions of fact
                                                    witnesses is scheduled to conclude on
                                                    March 15, 2018.

  In conformity with Article 3 of the Convention, the undersigned has the honor to submit
  the following request:

  5.    a.     Requesting judicial                 The Honorable Ursula Ungaro
               authority:                          United States District Court
                                                   Southern District of Florida
                                                   Wilkie D. Ferguson, Jr. United States
                                                   Courthouse
                                                   400 North Miami Avenue
                                                   Room 12-4
                                                   Miami, Florida 33128
        b.     To the competent juridical          Cyprus
               authority of:


        c.     Names of the case and any           Aleksej Gubarev, et al. v. BuzzFeed, Inc,
               identifying number:                 et al., Case No. 1:17-cv-60426-UU
                                                   (S.D. Fla., filed Feb. 3, 2017).




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  6.    Names and addresses of the parties and
        their representatives:
              a.     Plaintiffs:                     Aleksej Gubarev
                                                     XBT Holdings S.A.
                                                     Webzilla, Inc.

                     Attorneys for Plaintiffs:       Brady James Cobb
                                                     Dylan Michael Fulop
                                                     Cobb Eddy, PLLC
                                                     642 Northeast 3rd Avenue
                                                     Fort Lauderdale, FL 33304
                                                     Telephone: (954) 527-4111

                                                     Evan Fray-Witzer
                                                     Ciampa, Fray-Witzer, LLP
                                                     20 Park Plaza
                                                     Suite 505
                                                     Boston, MA 02116
                                                     Telephone: (617) 426-0000

                                                     Valentin Gurvits
                                                     Matthew Shayefar
                                                     Boston Law Group, PC
                                                     825 Beacon Street, Suite 20
                                                     Newton Centre, MA 02459
                                                     Telephone: (617) 928-1800


              b.     Defendants:                     BuzzFeed, Inc.
                                                     Ben Smith
                                                     11 E. 18th Street, 13th Floor
                                                     New York, NY 10003




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                    Attorneys for Defendants:   Katherine M. Bolger
                                                Nathan Siegel
                                                Adam Lazier
                                                Alison Schary
                                                Davis Wright Tremaine LLP
                                                1251 Avenue of the Americas, 21st Floor
                                                New York, NY 10020
                                                Telephone: (212) 489-8230
                                                Facsimile: (212) 489-8340

                                                Roy Black
                                                Jared Lopez
                                                Black Srebnick Kornspan & Stumpf
                                                201 South Biscayne Boulevard
                                                Suite 1300
                                                Miami, FL 33131
                                                Telephone: (305) 371-6421
                                                Facsimile: (305) 358-2006

                                                Of Counsel:
                                                Allison Lucas
                                                Nabiha Syed
                                                BuzzFeed, Inc.
                                                11 E. 18th Street, 13th Floor
                                                New York, NY 10003

  7.    a.    Nature of the proceedings:        This is a civil action for libel by Aleksej
                                                Gubarev, XBT Holdings S.A. and Webzilla,
                                                Inc. (collectively, “Plaintiffs”) against
                                                BuzzFeed, Inc. and its Editor-in-Chief, Ben
                                                Smith (collectively, “Defendants”).
        b.    Summary of Complaint:             Plaintiffs claim that they were defamed by
                                                BuzzFeed’s publication of an article
                                                entitled “These Reports Allege Trump Has
                                                Deep Ties to Russia” (the “Article”), which
                                                included an embedded document containing
                                                a 35-page dossier of information discussing
                                                alleged ties between President Donald J.
                                                Trump and Russia (the “Dossier”).
                                                Plaintiffs assert that they were identified in
                                                two sentences in the penultimate paragraph
                                                of the Dossier as having been involved in
                                                Russian efforts to hack the Democratic
                                                National Committee. Plaintiffs seek
                                                compensatory damages, and have reserved

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                                            the right to seek additional punitive
                                            damages, together with costs and
                                            disbursements. In particular, Plaintiffs
                                            claim that various lenders have refused to
                                            do business with Gubarev, XBT and/or
                                            Webzilla as a result of the publication of the
                                            Article and the Dossier.

                                            Plaintiffs have identified RCB Bank Ltd.
                                            (“RCB”) as one of the financial institutions
                                            from which Plaintiffs allegedly sought
                                            financing and were rejected following the
                                            publication of the Article and the Dossier.




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        c.    Summary of defense:              BuzzFeed claims that the publication of the
                                               Article and the Dossier is protected by a fair
                                               report privilege pursuant to any applicable
                                               state statute, the common law, the First and
                                               Fourteenth Amendments to the Constitution
                                               of the United States and any applicable
                                               state constitution; publication of the Article
                                               and the Dossier is protected by a neutral
                                               report privilege pursuant to the common
                                               law and the First and Fourteenth
                                               Amendments to the Constitution of the
                                               United States; Plaintiffs cannot establish the
                                               falsity of the challenged statements in the
                                               Article and Dossier; Plaintiffs are public
                                               figures and cannot prove constitutional
                                               malice; the Article and Dossier deal with
                                               matters within the sphere of legitimate
                                               public concern and were not published in a
                                               grossly irresponsible (or, in the alternative,
                                               negligent) manner; Plaintiffs have not been
                                               adversely affected or damaged in any way
                                               by publication of the Article; and
                                               exemplary or punitive damages are not
                                               recoverable because BuzzFeed did not act
                                               with either common law malice or
                                               constitutional malice; and any claim for
                                               exemplary or punitive damages is barred by
                                               the due process clause of the Fourteenth
                                               Amendment to the Constitution of the
                                               United States. Defendants also maintain
                                               that the Court lacks personal jurisdiction
                                               over them, in whole or in part.




        d.    Other necessary information or   None.
              documents:




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  8.    a.     Evidence to be obtained or other    This Court requests that the Cyprus
               judicial act to be performed:       Ministry of Justice and Public Order enter
                                                   an order requiring a representative of the
                                                   entity named in Appendix A hereto to
                                                   attend for examination under oath or
                                                   affirmation and to produce documents at the
                                                   offices of an examiner appointed by the
                                                   Cyprus Ministry of Justice and Public Order
                                                   at times and dates to be agreed upon after
                                                   the execution of this Letter of Request.

                                                   As described above and in Appendix A
                                                   hereto, the evidence to be obtained from
                                                   RCB relates to Plaintiffs’ claim for
                                                   damages.
        b.     Purpose of the evidence or          The purpose of the evidence sought is to
               judicial act sought:                secure testimony and documents regarding
                                                   the subject matters described in Appendix
                                                   A in a form that would be admissible for
                                                   use at trial in the proceedings in the United
                                                   States.

  9.    Identity and address of any person to be   See the entity and individuals identified and
        examined:                                  the subject matter of the information to be
                                                   provided described in Appendix A.


  10.   Questions to be put to the persons to be   See the entity and individuals identified and
        examined or statement of the subject-      the subject matter of the information to be
        matter about which they are to be          provided described in Appendix A.
        examined:


  11.   Documents or property to be inspected:     See the documents and subject matter
                                                   described in Appendix A.



  12.   Any requirement that the evidence be       Any representative of the entity identified
        given on oath or affirmation and any       in Appendix A should be examined under
        special form to be used:                   oath or affirmation, and/or in the
                                                   alternative, should be instructed of the
                                                   consequences for the giving of untruthful
                                                   and false answers under the laws of the
                                                   Cyprus for the formal taking of evidence.


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  13.   Special methods or procedure to be       It is requested that:
        followed:
                                                 i) The parties’ representatives or their
                                                 designees, the United States and Cyprus
                                                 attorneys for the parties and the witnesses,
                                                 and a stenographer and a videographer be
                                                 permitted to be present during the
                                                 examinations;

                                                 ii) There be excluded from the
                                                 examinations, if permitted under Cyprus
                                                 law, all persons other than the person
                                                 appointed by Ministry of Justice to
                                                 supervise the examination of the entity
                                                 named in Appendix A; other officials of
                                                 any Cyprus court normally present during
                                                 such proceedings; and the individuals listed
                                                 in clause (i) of this section;

                                                 iii) The examinations be conducted by
                                                 Cyprus counsel as instructed by Davis
                                                 Wright Tremaine LLP, counsel for
                                                 defendants BuzzFeed and Ben Smith, with
                                                 cross-examination by Cyprus counsel as
                                                 instructed by Boston Law Group, PC,
                                                 counsel for Plaintiffs, or by Davis Wright
                                                 Tremaine LLP and Boston Law Group, PC,
                                                 or as the Cyprus Ministry of Justice and
                                                 Public Order may direct, with counsel for
                                                 each party permitted to place objections on
                                                 the record;

                                                 iv) A stenographer and/or videographer be
                                                 permitted to record verbatim the
                                                 examination of a representative of the entity
                                                 named in Appendix A; and

                                                 v) The examination be held and the
                                                 documents be produced at a date and time
                                                 to be agreed with the entity named in
                                                 Appendix A after the execution of this
                                                 Letter of Request, at the offices of the
                                                 examiner appointed by the Ministry of
                                                 Justice.



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   14.   Request for notification of the time and   Please notify the following persons when
         place for the execution of the Request     and where the examination is to be
         and identity and address of any person     conducted:
         to be notified:
                                                    i) BuzzFeed, Inc. and Ben Smith

                                                    Katherine M. Bolger
                                                    Nathan Siegel
                                                    Adam Lazier
                                                    Alison Schary
                                                    Davis Wright Tremaine LLP
                                                    1251 Avenue of the Americas, 21st Floor
                                                    New York, NY 10020
                                                    Telephone: (212) 489-8230
                                                    Facsimile: (212) 489-8340

                                                    Roy Black
                                                    Jared Lopez
                                                    Black Srebnick Kornspan & Stumpf
                                                    201 South Biscayne Boulevard
                                                    Suite 1300
                                                    Miami, FL 33131
                                                    Telephone: (305) 371-6421
                                                    Facsimile: (305) 358-2006

                                                    Of Counsel:
                                                    Allison Lucas
                                                    Nabiha Syed
                                                    BuzzFeed, Inc.
                                                    11 E. 18th Street, 13th Floor
                                                    New York, NY 10003


                                                    ii) Aleksej Gubarev, XBT Holdings S.A.
                                                    and Webzilla, Inc.

                                                    Brady James Cobb
                                                    Dylan Michael Fulop
                                                    Cobb Eddy, PLLC
                                                    642 Northeast 3rd Avenue
                                                    Fort Lauderdale, FL 33304
                                                    Telephone: (954) 527-4111

                                                    Evan Fray-Witzer
                                                    Ciampa, Fray-Witzer, LLP
                                                    20 Park Plaza

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                                                    Suite 505
                                                    Boston, MA 02116
                                                    Telephone: (617) 426-0000

                                                    Valentin Gurvits
                                                    Matthew Shayefar
                                                    Boston Law Group, PC
                                                    825 Beacon Street, Suite 20
                                                    Newton Centre, MA 02459
                                                    Telephone: (617) 928-1800

   15.   Request for attendance or participation    None.
         of judicial personnel of the requesting
         authority at the execution of the Letter
         of Request:


   16.   Specification of privilege or duty to      There shall be no limitation on the rights to
         refuse to give evidence under the law of   assert any privileges or protections that may
         the State of origin:                       be available to the deponent or the parties.

   17.   The fees and costs incurred which are    The parties shall in equal parts bear such
         reimbursable under the second            fees and costs which are reimbursable under
         paragraph of Article 14 or under Article the Convention.
         26 of the Convention will be borne by:
                                                  Payment of such fees and costs in
                                                  accordance with this Letter of Request is
                                                  without prejudice to any party making a
                                                  subsequent application to an appropriate
                                                  court for reimbursement.


   DATE OF REQUEST:                                 __Jan.22d______ ___, 2018




   SIGNATURE AND SEAL OF THE
   REQUESTING AUTHORITY:                            _____________________________
                                                    The Honorable Ursula Ungaro
                                                    United States District Court Judge




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                                            APPENDIX A

        PERSON TO BE EXAMINED AND PRODUCE DOCUMENTS AND THE SUBJECT
                  MATTER OF THE INFORMATION TO BE PROVIDED

   1.      Name and Address of Entity and Individuals to be Examined:

           RCB Bank Ltd
           2 Amathountos
           Limassol 3105
           Cyprus

           Vladimir Zrazhewski
           Deputy Chief Executive Officer
           zrazhewski@rcbcy.com

   2.      Subject Matter of Testimony and Documents:

           Vladimir Zrazhewski and/or another representative of RCB Bank Ltd (“RCB”) with
           knowledge of the subject matter described herein will be questioned about the following
           subjects:

           (a)    Any application(s) for a loan or other financing made by Aleksej Gubarev, XBT
                  Holdings S.A. (“XBT”), or Webzilla, Inc. (“Webzilla”) to RCB, including but not
                  limited to a Subject Loan Application made in 2016 and provisionally approved
                  by RCB in or around October or November 2016 in the amount of $9 million US
                  Dollars, whether or not such financing was granted (the “Subject Loan
                  Application(s)”);

           (b)    Any communications between RCB, on the one hand, and Mr. Gubarev, XBT,
                  Webzilla, or any of their respective representatives, on the other, regarding the
                  Subject Loan Application(s);

           (c)    Any analysis, assessment, compliance check, or other evaluation conducted by
                  RCB in connection with the Subject Loan Application(s);

           (d)    Any personal or business loan or other financing actually extended by RCB to Mr.
                  Gubarev, XBT, or Webzilla from January 1, 2015 to the present;

           (e)    RCB’s formal and informal processes and procedures for evaluating applications
                  for personal loans, business loans, or other financing, including any applicable
                  “Know Your Client” rules, if any, that were in place from January 1, 2015 to the
                  present;

           (f)    Any communications between RCB, on the one hand, and Mr. Gubarev, XBT,
                  Webzilla, or their respective representatives, on the other, regarding the
                  publication of the Article, the Dossier, or any statement contained therein; and

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         (g)    Any communications between RCB, on the one hand, and Mr. Gubarev, XBT,
                Webzilla, or their respective representatives, on the other, regarding the instant
                lawsuit.

         RCB will be asked to produce the following documents:

         (h)    All documents and communications between any representative of RCB, on the
                one hand, and Mr. Gubarev, XBT, Webzilla, or any of their respective
                representatives, on the other, regarding the Subject Loan Application(s);

         (i)    All documents and communications concerning any analysis, review, assessment,
                compliance check, or other evaluation conducted by RCB in connection with the
                Subject Loan Application(s);

         (j)    All documents and communications concerning any personal or business loan or
                other financing actually extended by RCB to Mr. Gubarev, XBT, or Webzilla
                from January 1, 2015 to the present;

         (k)    RCB’s written processes and procedures for evaluating applications for personal
                loans, business loans, or other financing, including any policies related to
                applicable “Know Your Client” rules, if any, that were in place from January 1,
                2015 to the present;

         (l)    Any communications between any representative of RCB, on the one hand, and
                Mr. Gubarev, XBT, Webzilla, or any of their respective representatives, on the
                other, related to the publication of the Dossier or any statement contained therein;
                and

         (m)    Any communications between any representative of RCB, on the one hand, and
                Mr. Gubarev, XBT, Webzilla, or any of their respective representatives, on the
                other, regarding the instant lawsuit.

   3.    Relevance

         The testimony and the documents to be provided by RCB are materially relevant to
         Plaintiffs’ claims for damages. Plaintiffs allege in their Complaint that they were unable
         to secure financing from at least one lender following the publication of the Article and
         the Dossier. (Complaint ¶ 47.) In their discovery responses, Plaintiffs have specifically
         identified RCB as one of the financial institutions to which Mr. Gubarev, XBT, and/or
         Webzilla allegedly applied for financing and were denied due to the publication of the
         Article and the Dossier. Plaintiffs have produced a very limited number of documents
         relating to this request for financing from RCB.

         Specifically, Plaintiffs’ discovery responses allege that in or around October 2016, Mr.
         Gubarev applied for a loan from RCB in the amount of $9 million USD. Plaintiffs’
         discovery responses allege that RCB initially approved Mr. Gubarev’s loan application,
         but refused to release the loan amount to him in 2017 after the publication of the Dossier.
         Accordingly, the requested testimony and documents are relevant to assess Plaintiffs’

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         allegations that they were damaged as a result of RCB’s denial of their request(s) for
         financing.




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